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November 12, 2021

VIA ECF

Hon. Vernon S. Broderick, U.S.D.J.
Thurgood Marshall United States Courthouse
40 Foley Square, Room 415
New York, NY 10007

Re:    In re Keurig Green Mountain Single-Serve Coffee Antitrust Litigation, MDL No. 2542,
       No. 14-md-2542-VSB
       Amended Filing and Request to Seal Docket Entries

Dear Judge Broderick:

       I write on behalf of all Plaintiffs in the above-captioned matter. We have been advised by
Keurig’s counsel that one paragraph in Plaintiffs’ Response and Counterstatement to Keurig Green
Mountain, Inc’s Rule 56.1 Statement of Undisputed Fact (“56.1 Response”) contains
characterizations that may reflect privileged content. Specifically, the docket entries at ECF No.
1568-1 (unredacted version) and at ECF No. 1570-5 (redacted version) contain PSUF 1567, which
includes certain information that should be kept from public view and from all parties but Keurig.
Accordingly, Keurig’s counsel has asked us to remedy this situation.

        With this letter, we are filing via ECF amended documents to address this issue. These
filed versions (one unredacted and one redacted) amend PSUF 1567 to remove the information in
question. We note that, in order to avoid confusion, we are re-filing the entire unredacted and
redacted versions of Plaintiffs’ 56.1 Response so that these respective amended versions will each
have consistent ECF numbering.

        Plaintiffs respectfully request that this Court either direct the Honorable Clerk to delete
docket entries 1568-1 and 1570-5 from the docket, or to seal those entries such that neither the
public nor any non-Keurig party may view their contents.

       Plaintiffs thank the Court for its attention to this matter.

                                                                 Respectfully submitted,

                                                                 By: /s/ Aldo A. Badini
                                                                     Aldo A. Badini
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                                                                           Counsel for Plaintiffs TreeHouse
                                                                           Foods, Inc., Bay Valley Foods,
                                                                           LLC, and Sturm Foods, Inc.
CC: All counsel (via ECF)




               11/15/2021
 The Clerk of Court is respectfully directed to seal Plaintiffs’ 56.1 Response (ECF # 1568-1 and 1570-5) so it is only viewable
 to the Court and Keurig. I also grant Plaintiffs permission, to the extent necessary, to re-file the entire unredacted and redacted
 versions of Plaintiffs’ 56.1 Response.
